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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 ERIN TONKYRO,
 DANA STRAUSER,
 KARA MITCHELL-DAVIS,
 YENNY HERNANDEZ,                                  Case No. 8:16-cv-2419-T-36AEP

        Plaintiffs,

        v.

 PETER M. O’ROURKE, ACTING SECRETARY,
 DEPARTMENT OF VETERANS AFFAIRS,

       Defendant.
 _______________________________________/

                            PLAINTIFFS’ NOTICE OF APPEAL

        NOTICE is hereby given that the Plaintiffs, Erin Tonkyro, Dana Strauser, Kara Mitchell-

 Davis and Yenny Hernandez, appeal to the United States Court of Appeals the following Order

 and Judgment in the above-styled case:

        1.      The court’s Order dated November 7, 2018 (Doc. 99) granting Defendant’s Motion

 for Summary Judgment (Doc. 54; Doc. 85).

        2.      The Judgment entered in favor of the Defendant on November 8, 2018 (Doc. 100).

                                                   Respectfully submitted,

                                                   /s/ Joseph D. Magri
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY the foregoing document was filed with the Clerk of the Court using
 the CM/ECF system which will send a notice of electronic filing on this 2nd day of January, 2019
 to:

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